                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )   CASE NO. 3:12-00219
                                            )   JUDGE SHARP
TIMOTHY MAURICE CAREY                       )
                                            )

                                       ORDER


     Pending before the Court is a SEALED MOTION (Docket No. 97).

     A hearing on this motion is hereby scheduled for Monday, April 22, 2013, at 2:30 p.m.

     It is so ORDERED.



                                         KEVIN H. SHARP
                                         UNITED STATES DISTRICT JUDGE




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